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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                             Magistrate No.____________________

             v.                                        Violations:

  ANDREW WILLIAMS,                                     18 U.S.C. § 1752
                                                       40 U.S.C. § 5104
                    Defendant.
                                                       UNDER SEAL



  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

        I, William Novak, first being duly sworn, hereby depose and state as follows:

                                          INTRODUCTION

       1.         I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I am

assigned to the Washington Field Office Public Corruption / Civil Rights Squad, tasked with

investigating criminal activity in and around the Capitol grounds. As an FBI Special Agent, I am

authorized by law or by a Government agency to engage in or supervise the prevention, detention,

investigation, or prosecution of a violation of federal criminal laws.

       2.         This affidavit is being submitted in support of a criminal complaint and an arrest

warrant based on probable cause to believe that ANDREW WILLIAMS has committed the offenses

of Unlawful Entry of a Restricted Building, in violation of Title 18, Section 1752(a), and Disorderly

Conduct on Capitol Grounds, in violation of Title 40, Section 5104(e)(2).

       3.         The facts and information contained in this affidavit are based on my personal

knowledge and observations, my review of records and documents obtained during this

investigation, information received from other individuals, and my experience and training as a

Special Agent.

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       4.        This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                     STATEMENT OF FACTS

       5.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       6.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       7.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       8.        As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside. The crowd



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included many people who expressly objected to the conduct of the proceedings to certify the vote

count of the Electoral College of the 2020 Presidential Election, and who expressly stated that their

purpose was to stop or disrupt those proceedings.

        9.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the U.S. Capitol Police, including by

engaging in assaultive and abusive conduct towards officers of the U.S. Capitol Police who lawfully

attempting to block access to the U.S. Capitol. The crowd then advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials.

        10.      At such time, the certification proceedings, specifically, the proceedings in the

House and Senate to address the objection, were still underway and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted

to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and assisted those

acts.

        11.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of

the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol



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without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

        12.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

        13.     Your affiant identified ANDREW JAMES WILLIAMS as an individual who was

inside the U.S. Capitol building on January 6, 2021, without authority. The FBI obtained at least

two videos and one still photograph showing WILLIAMS on the grounds of the U.S. Capitol on

that date.

        14.     One video appears to have been recorded using a cellphone or other handheld device

that was taken during the riots in the U.S. Capitol on January 6, 2021. The recording shows scores

of individuals climbing up steps and through scaffolding on the exterior of the Capitol. A voice

can be heard saying, “We are storming the Capitol! Yeah baby!” Immediately after that statement,

the camera was flipped around and WILLIAMS, who appears to be holding the device, was

recorded uttering an additional “Yeah!” in what appears to your affiant to be the same voice as that

which made the statement about storming the Capitol.

        15.     The second video also appears to have been recorded using a cellphone or handheld

device. During the recording, it appears that the individual recording the video briefly turns the

camera around to record himself, at which time WILLIAMS is shown in the recording. In



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particular, WILLIAMS is shown on the recording wearing a yellow jacket with a black jacket

underneath, multi-colored neck gaiter, dark colored hat, and a pair of sunglasses around his neck.

The narrator of the video is overheard stating: “Taking it back baby”; “We are inside the Capitol”;

“Thank you fellow patriot”; “How are they going to arrest every single person?”; “Good job man”;

“This looks nice. This is really nice”; “We are in the Rotunda.” Your affiant was previously an

intern at the U.S. Capitol building in 2003 – and your affiant is aware that the individual recording

the video footage is actually underneath the Rotunda in the area that is commonly known as

“Capitol crypt.”

        16.     In the still photograph, WILLIAMS is standing underneath an archway and pointing

to a sign that reads:


                                       Speaker of the House
                                          Nancy Pelosi
 In the photograph, WILLIAMS is wearing a red shirt, black jacket, dark colored hat, and has a

 yellow jacket tied around his waist. WILLIAMS also has a pair of gold-colored sunglasses around

 his neck, along with a multi-colored neck gaiter.

        17.     I have identified WILLIAMS as the person depicted in the photograph and videos

in the following ways. First, on January 7, 2021, Witness 1, a law enforcement officer in Sanford,

Florida, contacted the FBI and reported that WILLIAMS had posted a photograph of himself inside

the Capitol building on January 6, 2021, and that WILLIAMS was a firefighter employed by the

Sanford, Florida fire department. Second, investigators obtained the Florida Department of Motor

Vehicle (DMV) photograph of WILLIAMS and compared it to video and photograph described

herein. The DMV photograph of WILLIAMS appears to your affiant to match the individual shown

in the videos and photograph.



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       18.      Based on the foregoing, your affiant submits that there is probable cause to believe

that WILLIAMS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly

conduct of Government business or official functions; or attempts or conspires to do so. For

purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or

otherwise restricted area of a building or grounds where the President or other person protected by

the Secret Service, including the Vice President, is or will be temporarily visiting; or any building

or grounds so restricted in conjunction with an event designated as a special event of national

significance.

       19.      Your affiant submits there is also probable cause to believe that WILLIAMS

violated 40 U.S.C. § 5104(e)(2)(C), (D), (E) and (G), which makes it a crime to willfully and

knowingly (C) with the intent to disrupt the orderly conduct of official business, enter or remain in

a room in any of the Capitol Buildings set aside or designated for the use of— (i) either House of

Congress or a Member, committee, officer, or employee of Congress, or either House of Congress;

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any

of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



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                                         CONCLUSION

       20.     Based on my training and experience, and the information provided in this affidavit,

there is probable cause to believe that on or about January 6, 2021, in the District of Columbia,

ANDREW WILLIAMS did knowingly and willfully commit the offenses of Unlawful Entry of a

Restricted Building, in violation of Title 18, Section 1752(a), and Disorderly Conduct on Capitol

Grounds, in violation of Title 40, Section 5104(e)(2).




                                                         _________________________________
                                                         Special Agent William Novak
                                                         Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of January 2021.                                Zia M. Faruqui
                                                                         2021.01.11
                                                                         15:57:25 -05'00'
                                                         ___________________________________
                                                         ZIA M. FARUQUI
                                                         U.S. MAGISTRATE JUDGE




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